cRTR2709-CR     Case 3:16-cv-11392-MGM Document
                                COMMONWEALTH    12 FiledUSETTS
                                             OF MASSACH  07/18/16 Page 1 of 60
                                                  BERKSHIRE COUNTY
                                                  Public Docket RePort




                                                    1   676CVo01 55
                                    Sicotte, Walter vs. Time Warner Cable lnc

 CASE       TYPE:     Contract / Business Cases                    FILE DATE:        0512712016
 ACTION      CODE:    A01                                          CASE TRACK:       F - Fast Track
 DESGRIPTION: Services, Labor and Materials
 CASE D¡SPOSITION DATE 0711312016                                  CASE STATUS:      Closed
                                                                  STATUS DATE:       07 t1312016
 CASE DISPOSITION: Transferred to another Court
 CASE JUDGE:                                                     CASE SESSION:       CivilA

                                                    LINKED CASE

                                                        DCM TRACK

  Tickler Description                                                        Due Date         Completion Date

  Service                                                                   08t25t2016        0711312016

  Rule 15 Served By                                                         09t2612016 0711312016
  Rule 12119120 Served By                                                   0912612016 0711312016
  Answer                                                                    0912612016 0711312016
  Rule 12119/20 Filed   BY                                                  10t24t2016 07113t2016
  Rule 15 Filed By                                                          10t2412016 0711312016
  Rule 12l19/20 Heard    BY                                                 11t2312016 0711312016
  Rule 15 Heard By                                                          11t2312016 0711312016
  Drscovery                                                                 03t23t2017 0711312016
  Rule 56 Served By                                                         04t24t2017 0711312016
  Rule 56 Filed By                                                          05t2212017 07t1312016
  Final Pre-Trial Conference                                                09t1912017 0711312016
  Judgment                                                                  05t2812018 0711312016
                                                         PARTIES

  Plaintiff                                                      Private Counsel                            568535
  Sicotte, Walter                                                Steffans, Benjamin Knox
                                                                 Cohen Kinne Valicenti & Cook LLP
                                                                 Cohen Kinne Valicenti & Cook LLP
                                                                 28 North Street
                                                                 3rd Floor
                                                                 Pittsfield, MA 01201
                                                                 Work Phone (413) 443-9399
                                                                 Added Date: 05/31/2016
F, Trr*e
*ttfte&¿.




 Printed: 0711312016 11.22     am      Case No: 1676CV00155                                                 Page:    1
CRTR27O9-CR                   COMMONWEALTH
              Case 3:16-cv-11392-MGM       OF MASSACHUSETTS
                                     Document 12 Filed 07/18/16 Page 2 of 60
                                           BERKSHIRE COUNTY
                                           Public Docket Report




 Defendant                                             Private Counsel                                      552920
 Time Warner Cable lnc                                 Tarlow, Daniel Simeon
                                                       Prince LobelTye LLP
                                                       Prince LobelTye LLP
                                                       One lnternational Place
                                                       Suite 3700
                                                       Boston, MA 021'10
                                                       Work Phone (6r7) 456-801 3
                                                       Added Date.0710612016
                                                       Private Gounsel                                      564288
                                                       Edwards, Joseph L
                                                       Prince LobelTye LLP
                                                       Prince LobelTye LLP
                                                       100 Cambridge Street
                                                       Suite 2200
                                                       Boston, MA02114
                                                       Work Phone (617) 456-8000
                                                       Added Date'.   07   I   0612016
                                                       Private Counsel                                      682335
                                                       Baldwin, Andrew L.
                                                       Prince LobelTye LLP
                                                        Prince LobelTye LLP
                                                       One lnternational Place
                                                       Suite 3700
                                                       Boston, MA 02110
                                                       Work Phone (617) 456-8182
                                                       Added Date: 07/06/2016


                                           PARTY CHARGES

  #    Offense Date/     Gode              Town                    Disposition                       Disposition
       Gharqe                                                                                        Date



                                                  EVENTS

Date          Session             Event                           Result                         Resulting Judge



                                          F¡NANCIAL SUMMARY

              Fees/Fines/Gosts                      Assessed                   Paid      Dismissed          Balance

                         Total                         280.00              280.00             0.00             0.00

                                                                       Applied           Checks Paid        Balance
 Deposit Account(s) Summary                          Received

                         Total




 Printed. 0711312016 11 .22 am   Case No. 1676CV00155                                                        Page:    2
CRTR27O9-CR                     COMMONWEALTH
               Case 3:16-cv-11392-MGM        OF MASSACHUSETTS
                                       Document 12 Filed 07/18/16 Page 3 of 60
                                                  BERKSHIRE COUNTY
                                                   Public Docket Report




                                        INFORMATIONAL DOCKET ENTRIES
 Date         Ref       Description                                                                      Judge

05t2712016              Attorney appearance
                        On this date Benjamin Knox Steffans, Esq. added as Private Counsel for
                        Plaintiff Walter Sicotte
05t27t2016              Original civil co     int filed

05t27t2016              Civíl action cover sheet filed.
05t27t2016              Demand for jury trial entered

                        Applies To: Sicotte, Walter (P!aint{f)
05t3112016              Case assigned to:
                        DCM Track F - Fast Track was added on 051!1!2016
07 t06t2016             Attorney appearance
                        On this date Daniel Simeon Tarlow, Esq. added as Private Counselfor
                        Defendant Time Warner Cable lnc
07t06t2016              Attorney appearance
                        On this dateAndrew L. Baldwin, Esq. added as Private Counselfor
                        Defendant Time Warner Cable lnc
07 t0612016             Attorney appearance
                        On this date Joseph L Edwards, Jr., Esq. added as Private Counselfor
                        Defendant Time Warner Cable lnc
07   t06t2016    3      Defendant's Notice of intent to file motion notice of intent to file notice of
                        removal to the U.S. District Court of Massachusetts, filed

                        Applies To: Time Warner Cable lnc (Defendant); Tarlow, Esq., Daniel
                        Simeon (Attorney) on behalf of Time Warner Cable lnc (Defendant);
                        Edwards, Jr., Esq., Joseph L (Attorney) on behalf of Time Warner Cable
                        lnc (Defendant), Baldwin, Esq., Andrew L. (Attorney) on behalf of Time
                        Warner Cable lnc (Defendant)
0711312016 4            Notice of Removal to the United States District Court filed by

                        Applies To: Baldwin, Esq., Andrew L. (Attorney) on behalf of Time Warner
                        Cable lnc (Defendant)

                        certified copy of docket sheet also mailed
07 t13t2016             Case transferred to another court.




Printed: 0711312016 11 .22   am       Case No: 1676CV00155                                                   Page.   3
         Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 4 of 60                                                                          Lt )



                              COMMONWEALTH OF MASSACHUSETTS

Berkshire,   ss                                                Superior Court Department
                                                               Civil Action No:        þ.76CúA0tls-

 WALTBR SICOTTE,                                                                                   t'i   ;r't   \ ;lli.i   i'ir::'"t
                                                                       " - CûMM0N!![-Al{þi
                                                                      THË
                                                                                           $Li'i'i'l¡i rjti t.i                    il¿ t
                      Plaintiff,                                           gfnKSHtRE        $'$                            i   i

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                                                                          F                                                                t
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                                                                            I
vs.                                                                                                                                        t."
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                                                                                                                                           ¡.-

 TIMB WARNER CABLE, Inc.,
                                                                                                                                           tl
                                                                            t_J




                      Defendant.
                                                                                  |^l*'ø*

                                COMPLAINT            .IIIRY DF],MANI)

        Walter Sicotte ("Plaintiffl'), by and through his attorneys, Cohen Kinne Valicenti & Cook,

LLP, states as follows for his complaint against Time Warner Cable, Inc. ("Time Warner").

                                                Parties

        1.        Plaintiff   is an individual residing at 216 King Richard Drive, Becket,
Massachus etts, 01233.

        2.        Defendant Time Warner Cable, Inc. is a Delaware corporation with a principal

place of business located at 60 Columbus Circle, New York, New York 10023.

                                             Background

        3.        Plaintiff began working at Time Warner, as a Massachusetts employee, on or

around May 1 5,2004 and at all relevant times was employed by Time Warner under the state laws

of Massachusetts.

        4.        At all relevant times, Plaintiff was employed   as a technician     with an average rate

of pay of approximately $25.00 per hour.

        5.        At all relevant times, Plaintiff was scheduled to work 42.5 hours per week.




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            Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 5 of 60




        6.       During the course of Plaintifls employment at Time V/arner he was classified as a

non-exempt employee and, accordingly, was entitled to time-and-a-half for all hours worked over

40 in a workweek.

        7.       In addition to the scheduled hours listed above, Plaintiff worked time for which he

was not compensated, as further discussed below, including (i) during his meal breaks which he

missed approximately 600/o of the time, resulting   in   1.5 hours during a typical week, when he was,


for example, tlaveling to and from worksites, answering phone calls, checking service lists,

ordeling stock, and checking email; (ii) before his scheduled start tirne in order to, for example,

check email, review work lists, check signal levels, stock orders, and answer phone calls, typically

lesulting in 20 minutes per shift; and (iii) after his scheduled shift in order to, for example, check

emails, review worklists, check signal levels, stock orders, and answer phone calls, typically

resulting in 10 minutes per shift.

        8.       During Plaintiff s employment, Time Warner implernented an auto-deduct lunch

break policy.

        9.       Under this policy, Tirne Warner's timekeeping system automatically deducted tirne

fi'om PlaintifTs paychecks each day for meal breaks.

        10.      Plaintiff was deducted at least thirty minutes from his pay each shift he worked.

        I   1.   Plaintiff performed work during this lunch period and was not paid for that time.

During this time, Plaintiff traveled to and from worksites, answered phone calls, checked service

lists, ordered stock, and checked email.

        12.      Time Warner, at all times, was aware that Plaintiff worked through lunch and

regularly did not take lunch breaks because (1) Time Warner requested that Plaintiff perform work

during his lunch period, (2) tliat work was performed in full view of Time Warner's managers and



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         Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 6 of 60



supervisors or with their actual knowledge, (3) that work was performed at their direction, (4)

Time Warner managers set performance deadlines, standards, and goals that required Plaintiff to

work through his lunch period, and (5) Time Warner was told that technicians, including Plaintiff,

were working through their meal periods.

         13.    Further, Time Walner did not prohibit Plaintiff fi'om working through his unpaid

lunch period.

         14.    During Plaintifls employment, Time Warner suffered and permitted Plaintiff to

perform work, to Time Warner's benefit, before and after the end of his scheduled shift.

         15.    For example, before and after his shift, Plaintiff checked email, reviewed work lists,

checked signal levels, stocked orders, and answered phone calls.

         16.    Time Warner failed to pay Plaintiff for all time spent performing such work.

         17.    Time Warner, at all times, has been aware that Plaintiff worked before and after his

scheduled shifts because (1) Tirne Warner requested that Plaintiff pelform work befole and after

his shift, (2) thaf work was performed in full view of Time Warner's managers and supervisors ol

with their actual knowledge, (3) that work was performed at their direction, (4) Tirne Warner

managers set performance deadlines, standards, and goals that required Plaintiff to work befole

and after his shift, and (5) Time Warner was told that technicians, including   Plaintiff, were working

before and after their shifts.

         18.    Time Warner has not paid Plaintifffor all work performed befure and after his shift.

         19.    This additional time of at least 4.75 hours of uncompensated time per week, during

the period when the auto-deduct policy was in effect, should have been paid at overtime rates,

resulting in approxirnately $37.50 pel hour or $178.13 not paid each week.




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        20.      This additional time of at least 2.75 houls of uncompensated time per week, during

the period when the auto-deduct policy was not in effect, should have been paid at overtime rates,

resulting in approximately 37.50 per hour or $103.13 not paid each week.

        2I.      Time Warner and Plaintiff entered into expless and implied contracts that were

intended to govern their relationship.

        22.      A term of those agreements included that Plaintiff would provide labor and services

as a technician in exchange   for   a   promise to be paid for all hours worked.

        23.      As alleged herein, Plaintiff regularly worked hours for which he was not paid.

        24.      Time Warner breached its contract with Plaintiff by failing to pay him/his for all

hours worked.

        25.      This breach proximately damaged Plaintiff.

        26.      Plaintiff conferred a benefit upon Time Warner by performing services, including

those identified above, on Time Watner's behalf.

                            Count 1 -- Violation of M.G.L. c. 151        s. 1R


        27   .   Plaintiff incotpolates his previous allegations.

        28.      Plaintiff is or was a non-exempt employee of Time Warner.

        29.      M.G.L. c. 151 s. 1B required Time Warner to pay Plaintiff time-and-a-half for all

hours worked over 40 in a work week.

        30.      Time Warner violated M.G.L. c. 151 s. 1B by not paying Plaintiff tirne-and-a-half

for all hours worked over'40 in a work week, including time he worked before his shift, after his

shift, and during lunch.

        31.      Time'Warner's violations of M.G.L. c. 151 s 1B entitle Plaintiff to atriple measure

of his unpaid wages, attorneys' fees, interest, and costs.



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          Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 8 of 60




                              Count 2 -- Violation of M.G.L. c.149 s. 148

          32.      Plaintiff incorporates his plevious allegations.

          33.      Plaintiffis or was a non-exempt employee of Time Warner'
                                                         'Warner
          34.      M.G.L. c. 149 s. 148 required Time              to pay Plaintiff all wages to which he

was owed, consistent with legal requirements.

          35.      Tirne Warner violated M.G.L. c. I49 s. 148 by not paying Plaintiff all wages to

which he was owed, including time he worked before his shift, after his shift, and during lunch.

          36.      Time Warner's violations of M.G.L . c. 149 s. 148 entitle Plaintiff to a triple measure

of his unpaid wages, attorneys'fees, interest, and costs.

                                      Count 3 - Breach of Contract

          37   .   Plaintiff incorporates his previous allegations.

          38.      Time Warner and Plaintiff were parties to an agreement pursuant to which

Plaintiff promised to pelform services on Time Warnet's behalf and Time Warner promised to

pay Plaintiff for all hours worked.

          39.      Plaintiff satisfactorily performed under that agreement by performing services on

Time Walner's behalf.

          40.      Time Warner did not satisfactorily pelform under that agreement by failing to pay

Plaintiff for all hours worked,

          41.      Time Warner's breach of the parties' agreement has proximately injured Plaintiff.

                                      Count 4 - Uniust trl,nrichment

          42       Plaintiff incorporates his previous allegations.

          43.      Plaintiff confened a benefit upon Tirne Warner by performing services on its

behalf.



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         Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 9 of 60



        44.    Time Warner, as explained above, was aware of the benefit conferred upori it by

Plaintiff.

         45.    Time'Warner accepted and retained that benefit under unjust and inequitable

circumstances insofar as it did not compensate Plaintiff for all hours worked.

        Wherefore, Plaintiff respectfully requests this Court to enter judgrnent that:

        A.      Time Warner is liable to Plaintiff for the violations of the Massachusetts Wage Act

identified in this Cornplaint;

        B.      Time Vy'arner is liable to Plaintiff for breach of contract;

        C.      Time Warner is liable to Plaintiff for unjust enrichment;

        D.      Time Warnel is liable to Plaintiff for compensatory damages in an amount to be

proven attrial, plus triple damages, attomeys' fees, interest and costs; and

        E.      Such other relief this Court deems just and proper.

                                                Respectfully submitted,

                                                WALTER SICOTTE,

                                                By his attorneys,


                                                 f3- z Ç^t/-
                                                Beff amink ste?farú(BBo# s68s3 s)
                                                COHEN KINNE VALICENTI & COOK, LLP
                                                28 North Street, 3'd Floor
                                                Pittsfield, MA 01201
                                                Telephone (41 3) 443-9399
                                                Facsinrile (413) 442-9399
Date: Mav L'l^zOl0




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                             Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 10 of 60
                                                                                                                                                                                                                  (/1r/-
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                                                                     DocKEr  NUMBER                                                  reWial                  Gourt of lVlassachusetts r:
     CIVIL AETION EÕVËR SHËËT                                    I

                                                                 I      ,t ,)t-Cr)ao1ql                                                   l""rn"
                                                                                                                                                             superior     court                               i tli
 PLATNTTFF(S):                                Walter Sicotte
                                                                                                                                                                          Berkshire
ADDRESS:                                 216 Kinq Richard Drive
                                 Becket, MA 02133                                               DEFENDANT(S):                                                   Time Warner Cable, lnc.


ATTORNEY:                                   Benjam¡n Steffans
ADDRESS:                          Cohen Kinne Valicenti & Cook LLP                              ADDRESS                                                           60 Columbus Circle
                              28 North Street, 3'd Floor                                                                                                 New York, NY 10023
                                Pittsfield MA 01201
BBO:                                              568535
                                                   TYPE OF ACTION AND TRACK DESIGNATION (see reverse side)
            CODE NO.                             TYPE OF ACTION         (specify)                                    TRACK                               HAS A JURY CLAIM BEEN MADE?
               AO1                             Employment Service and      Labor                                      F                                  X YES                fl    NO

"lf "Other" please describe:

                                                      STATEMENT OF DAMAGES PURSUANT TO G.L. c. 2

     following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff counsel rel¡es to determine money                                            damages. For
 is form, disregard double or treble damage claims; indicate single damages only

                                                                                 TORT CLAIMS
                                                                     lattach aoaitioñãt ãtrããGã necessary)

  Documented medical expenses to date:
       1. Total hospital expenses                                                                                                                                                               $
       2. Total doctor expenses ........,...............                                                                                                                                        $
                                                                                                  'l'H[            CÛlÍiviiifrl\i.ti:].ll-'1'¡:i ¡¡i: iiirüljs/\tl]'lu $ËT1    ìt
       3. ïotal chiropractic expenses                                                           ''''''''''iïr'i:         r'-';:i'i   1.   .:   . Å   .   '                                      $
       4. Total physical therapy expenses ........                                               ..........iìi;.iii'r;l'i;i:i{;. r-ì..i..:,,P.í::ìl1ln.iì0UHI.........                          $
       5. Total other expenses (describe below)                                                                                                                       ...Ë.                     $
                                                                                                                                                                      df,,                      $              000
  Documented lost wages and compensation to date                                                            t_
                                                                                                          ''r"                                                          t_                      $
  Documented property damages to daied                                                                                                                                 Ë                        $
  Reasonabfy anticipated future medical and hospital expenses            ...                                i)                                                         D                        $
  Reasonably anticipated lost wages                                                                                                                                                             $
  Other documented items of damages (describe below) .........                                                                                                                                  $      50 000.00
                     Violatíon of                          Act        151 a                           Fees                           lnterest
  Briefly describe plaintiff s injury, including the nature and extent of injury:
                                                 Vioaftions of Massachusetts Wage Act
                                                                                                                                                                       TOTAL (A-F):             $      50,000.00

                                                                                    CONTRACT CLAIMS
                                                                     (attach additional sheets as necessary)

       a detailed description of claims(s)
                                                                                                                                                                                    TOTAL $



s ature of            Se Plaintiff: X                                                                          Date:
RELATED AGTIONS: Please provide the case number, case name, and count of any related actions pending in the Superior Court.



                                                CERTIFICATION PURSUANT TO SJC RULE 1:18
 hereby certify that I have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that I provide my clients with information about court-connected dispute resolution services and discuss with them the
advantages and disadvantages of the various methods of dispute resolution.
                                                  .-,4                     fl',                                                                                                                 ..+/
                                             X lÞ2,                                                                                                                                             5þ   t/te
signature of Attorney of Record:                                 Á             il     ¡   /e*                                                                                       D    ate,


                                                                                                                                                                                        TurboLaw (800)   51   8-8726
                                 Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 11 of 60
                                                 CIVIL ACTION COVER SHEET INSTRUCTIONS
                                            SELECT CATEGORY THAT BEST DESCRIBES YOUR CASE
      AC Act¡ons lnvolvinq the State/Mun¡c¡palitv      .                         ER Equitable Remed¡es                                                RP Real Propertv

     AA1 Contract Act¡on involving Commonwealth,                 D01 Specific Performance of a Contract            (A)              c01   Land Taking                              (F)
          Munic¡pal¡ty, MBTA,        etc.        (A)             D02 Reach and Apply                               (F)              c02 Zoning Appeal, G.L. c. 404                 (F)
     AB1 Tortious Act¡on involv¡ng Commonwealth,                D03       lnjunction                               (F)              c03   Dispute Concerning Title                 (F)
          Mun¡c¡pality, MBTA,        etc.        (A)            D04       Reform/ Cancel Instrument                (F)              c04   Foreclosure of a Mortgage                (x)
     AC'1 Real PropertyAction involv¡ng                         D05       Equitable Replev¡n                       (F)              c05   Condominium Lien & Charges               (x)
          Commonwealth, Municipal¡ty, MBTA etc.(A)              D06       Contnbution or lndemn¡fication           (F)              c99   Other Real Property Action               (F)
     AD1 Equity Action involving Commonwealth,                  D07       lmpositÌon of a Trust                    (A)
          Municipality, MBTA,        etc.        (A)            D08       Minor¡ty Shareholder's Suit              (A)                       MC Miscellaneous Civ¡l Actions
     AE1 Administrative Act¡on involving                        D09       lnterference in Contractual Relationsh¡p (F)
          Commonwealth, Mun¡cipal¡ty, MBTA,etc. (A)             D10       Accounting                               (A)              E18 Foreign Discovery Proceedrng               (x)
                                                                D'1   1   Enforcement of Restrictive Covenant      (F)              E97 Pr¡soner Habeas Corpus                     (x)
                 CN ContracUBusiness Cases                      D12       Dissolution of a Partnership             (F)              E22 Lottery Assignment, G.L. c. 10 S28         (x)
                                                                D13       Declaratory Judgment, G.L. c.2314        (A)
     401 Services, Labor, and Mater¡als              (F)        D14       D¡ssolution of a Corporat¡on             (F)
                                                                                                                                            AB Abuse/Harassment Prevention
     AO2 Goods Sold and Delivered                    (F)        D99       Other Equ¡ty Action                      (F)
     403 Commercial Paper                            (F)                                                                            E15 Abuse Prevention Pet¡tion, G.L. c. 2094    (X)
     404 Employment Contract                         (F)         PA Civil Actions lnvolvinq lncarcerated Partv           t          E21   Protection from Harassment, G.L. c. 258E(X)
     406 lnsurance Contract                          (F)
     408 Sale or Lease of Real Estate                (F)
                                                                PA1 Contract Act¡on involv¡ng       an                                       AA Admin¡strative Civil Act¡ons
     412 Construction Dispute                        (A)
                                                                          lncarcerated Party                       (A)
     414 lnterpleader                                (F)
                                                                PB1       Tortious Action involving an
     BA1 Governance, Conduct, lnternal
                                                                                                                                    E02 Appeal from Adm¡nistrative Agency,
                                                                          lncarcerated Party                       (A)                   G.L. c. 304                               (x)
         Affairs of Entities                         (A)
     BA3 Liability of Shareholders, Directors,
                                                                PC1       Real PropertyAction involv¡ng an                          803  Certiorari Act¡on, G.L. c.249 54          (x)
         Officers, Partners, etc.                    (A)
                                                                          lncarcerated Party                       (F)              E05 Conf¡rmation of Arbitrat¡on Awards         (x)
                                                                PD1       Equity Action involv¡ng an                                E06 Mass Ant¡kust Act, G. L. c. 93 Sg          (A)
     BB1    Shareholder Der¡vative                   (A)
                                                                          lncarcerated Party                       (F)              Ê.07 Mass Ant¡trust Act, G. L. c. 93 58        (x)
     BB2    Securit¡ès Transactions                  (A)
                                                                PE1       Administrative Action involving an                        E08 Appointment of a Rece¡ver                  (x)
     BC1    Mergers, Consolidations, Sales of                             lncarcerated Party                       (F)              E09 Construction Surety Bond, G.L. c. 149
            Assets, lssuance of Debt, Equity, etc.   (A)
     BD1    lntellectual Property                    (A)                                                                                 ss2e, 2eA                                 (A)
                                                                                         TR Torts                                   E'10 Summary Process Appeal                    (x)
     BD2    Proprietary lnformation or Trade
                                                                                                                                    E11 Workefs Compensation                       (x)
            Secrets                                  (A)
                                                                803 Motor Vehicle Negljgence - Personal                             E16 Auto Surcharge Appeal                      (x)
     BG1    F¡nancial lnstitut¡ons/Funds             (A)
                                                                    lnjury/Property Damage                         (F)              817 Civ¡l R¡ghtsAct, G.L. c.12 S11H            (A)
     BH1    V¡olation of Antitrust or Trade
                                                                804 Other Negligence - Personal                                     824 Appeal from District Court
            Regulation Laws                          (A)
                                                                    lnjury/Property Damage                         (F)                   Commitment, G.L. c.123 Sg(b)              (x)
    499     Other ContracvBusiness Action-Specify    (F)
                                                                                                                                    E25 Pleural Reg¡stry (Asbestos cases)
                                                                805 Products Liability                             (A)
                                                                806 Malpract¡ce - Med¡cal / Wrongful Death         (A)              E95 Forfeiture, G.L. c.94C S47                 (F)
                                                                807 Malpract¡ce - Other                            (A)              E99 Other Adm¡nistrative Action                (x)
    * Choose this case type ¡f ANY party is the                 808 Wrongful Death, G.L. c.229 S2A                 (A)              201 Medical Malpract¡ce - Tribunal only,
                                                                815 Defamation                                     (A)                   G,L. c.231 5608                           (F)
    Commonwealth, a municipality, the MBTA, or any
                                                                819 Asbestos                                       (A)              202 Appeal Bond Denial                         (x)
    other governmental ent¡ty UNLESS your case is a
    case type I¡sted under Adm¡nistrative C¡v¡l Actions         B20 Personal lnjury - Sl¡p & Fall                  (F)
    (AA)                                                        821 Env¡ronmental                                  (F)                             SO Sex Offender Review
                                                                822 Employment Discriminat¡on                      (F)
                                                                BE1 Fraud, Bus¡ness Torts, etc.                    (A)              E12 SDP Commitment, G.L. c. '1234 S12          (x)
    T Choose th¡s case   type  ANY party ¡s an
                                ¡f                              899 Other Tort¡ous Action                          (F)              E14 SDP Pet¡tion, G.L. c. 1234 Sg(b)
    ¡ncarcerated party, UNLESS your case ¡s a case
    type listed under Administrative Civil Actions (AA)                                                                                        RC Restricted Civ¡l Actions
    or ¡s a Prisoner Habeas Corpus case (E97).
                                                                                                                                    E19   Sex Offender Registry, G.L. c.6 s178M (x)
                                                                                                                                    E27   M¡nor Seeking Consent, G.L. c. 1 12 5125 (X)
                                                                                                                                    E94   Forfe¡ture, G.L. c265 556                (x)
                                                            TRANSFER YOUR SELECTION TO THE FACE SHEET

           EXAMPLE:
           CODE NO.                              TYPE OF ACTION (specify)                       TRACK                        HAS A JURY CLAIM BEEN MADE?
           803                        Motor Vehicle Negligence-Personal I njury                     F                        X   YES          tr   t¡O


                                                 STATEMENT OF DAMAGES PURSUANT TO G.L. c.212, S 3A
DUTY OF THE PLAINTIFF - The plaintiff shall set forth, on the face of the civil action cover sheet (or attach additional sheets as necessary), a
statement spec¡fying the facts on which the plaintiff rel¡es to determine money damages. A copy of such civil action cover sheet, including the
statement as to the damages, shall be served with the complaint. A clerk-magistrate shall not accept for filing a complaint, except as
otherwise provided by law, unless it is accompanied by such a statement signed by the attorney or pro se party.

DUTY OF THE DEFENDANT - lf the defendant bel¡eves that the statement of damages filed by the plaintiff is inadequate, the defendant may file
with his/her answer a statement spec¡fying the potential damages which may result if the plaintiff prevails.


                                      A CIVIL COVER SHEET MUST BE FILED WITH EACH COMPLAINT.
                                FAILURE TO COMPLETE THIS COVER SHEET THOROUGHLY AND ACCURATELY
                                               MAY RESULT IN DISMISSAL OF THIS ACTION.
                                                                                                                                                               TurboLaw (800)     51   B-8726
                                  Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 12 of 60

                                                                 DOCKET NUIVìBER
                                                                                         Trial Court of Massachusetts                     À.
               CIVIL TRACKING ORDER
                    (STANDTNG ORDER 1- 88)                        I 676GV001 55          The Superior Court
                                                                                                                                       W
CASE NAME:
                                                                                          Deborah S. Capeless, Clerk of Courts
       Sicotte, Walter vs. Time Warner Cable lnc

ro' File copy                                                                           COURT NAIVE & ADDRESS
                                                                                          Berkshire County Superior Court
                                                                                          76 East Street
                                                                                          Pittsfield, MA 01201




                                                             TRACKING ORDER - F - Fast Track
                    You are hereby notified that this case is on the track referenced above as per Superior Court Standing
     Order 1-BB. The order requires that the various stages of litigation described below must be completed not later
     than the deadlines indicated.


                      STAGES OF LITIGATION                                                     DEADLINE


                                                                                    SERVED BY        FILED BY             HEARD BY


      Service of process made and return filed with the Court                                       08t25t2016


      Response to the complaint filed (also see MRCP 12)                                            0912612016


     All motions under MRCP 12,19, and 20                                            09t26t2016     10t24t2016            11t23t2016

     All motions under MRCP 15                                                       0912612016     1012412016            1112312016

     All discovery requests and depositions served and non-exped
                                                                                     0312312017
      despositions completed

     All motions under MRCP 56                                                       04t24t2017     0512212017


      Final pre-trial conference held and/or firm trial date set                                                          09t19t2017


     Case shall be resolved and judgment shall issue by                                                                 0512812018




   The final pre-trialdeadline is not the scheduled date of the conferenc,e. You will be notified of that date at a latertime
   eounsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.
   This case is assigned to



 DATE ISSUED                               ASSISTANT CLERK                                                      PHONE


      a5t31t2a16                                                                                                   (41314se-7487

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              Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 13 of 60                                                                                                             Lr.ú




                                    COMMONWEALTH OF MASSACHIJSETTTS

BERKSHIRE,            ss                                          SUPERIOR COURT DEPARTMENT
                                                                  CNIL ACTION NO. 1676CV00155

                                                          )
WALTER SICOT'TE                                           )                   !           il              il        \^í[              l-î   il t] I l\;Ì íì ll i; lr il l' i lìl-1"'ilj
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                     Plaintiff,                           )                   r::
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                                                          )                   IJ
TIME WARNER CABLE, INC                                    )                                                                                      (lÍd"Vk
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                                                                                                                                      /l
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                                                          )                                    I   -



                     Defendant                            )
                                                          )

                                                 NOTICE OF REMOVAL

              Please take notice that, pursuant to 28 U.S.C. $ 1441, Defendant Tirne Warner Cable, Inc.

("Defendant") has filed             a   Notice of Removal of the above-captioned action in the United States

District Coult fol         th.e   District of Massachusetts on July \,2016. A copy of the Notice of

Removal is attached hereto as Exhibit               A. Defendant will submit a certifìed copy of the Notice
once   it is received from the District Court.

              Please take further notice that, upon       filing of this Notice of Removal with the Clerk of tlie

Berkshire Superior Court in accordance with 28 U.S.C. $ 1446(d), the Superior Court shall

proceed no further herein unless and until the case is remanded.




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                                             TIME WARNER CABLE, INC

                                             By its attorneys,



                                             Daniel S. Tarlow, BBO# 552920
                                             dtarlow@Princelobel. com
                                             Joseph L. Edwards Jr., BBO# 564288
                                             j edwards@Princelobel. com

                                             Andrew L. Baldwin, BBO# 682335
                                             abaldwin@princelobel. com
                                             PRINCE LOBEL TYE LLP
                                              1 International Place, Suite 3700
                                             Boston, MA 02110
                                             Phone: (617) 456-8000
                                             Fax: (617) 456-8100


                                  CERTIFICATE OF SERVICE

         I, Andrew L. Baldwin, certify that on July 1 ,2016I served the foregoing document on
ptaintiff by sending a true and accurate copy by hrst-class mail, postage prepaid to counsel for
plaintiff in this action to:

                               Benjamin K. Steffans, Esq.
                               COI]EN KINNE VALICENTI & COOK, LLP
                               28 North Street, 3'd Floor
                               Pittsfleld, MA 01201



                                                         Raldwin




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                            trXHIBIT A




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                               UNITED STATES DISTRICT COURT
                                DISTRICT OIÌ MASSACHUSETTS
                                   SPRINGFIBLD DIVISION


 WALTER SICOTTE,

           Plaintiff                                    Civil Action No.:



 TIMB WARNER CABLE, INC.

           Defendant.



                                       NOTICE OF RBMOVAL

         Defendant Time Warner Cable Inc. ("Defendant") hereby files this Notice of Removal

pursuant to 28 U.S.C. $$ 1332, 1441, and 1446. In support of this Notice, Defendant states as

follows:

                  I.      PROCEDURAL BACKGROUND AND PRERBOUISITES

         l.       Plaintiff Walter Sicotte ("Plaintiffl') commenced a civil action against Defendant

on or about May 27, 2016, in the Superior Court of Berkshire County, Commonwealth of

Massachusetts, Case No. 1676CV00155 (the "State Couft Action").

         2.       This Notice of Removal is timely under 28 U.S.C. $$ 1446(b)-(c) because Plaintiff

served Defendant with the Summons and Complaint on June 1 5,2016.

         3.       In his Conrplaint, Plaintiff asserts claims for   (l)   violation of Mass. Gen. Laws ch.

151,   $ lB for failure to pay overtime wages, which allows for recovery of treble damages; (2)

violation of Mass. Gen. Laws ch.149, $ 148 for failure to pay wages, which allows for recovery

of treble darnages; (3) breach of contract seeking unpaid wages; and (4) unjust enrichment seeking

r-rnpaid wages.




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        4.      Pursuantto 28 U.S.C. $$ 1446 and Rules 5.4(F) and 81.1(a) of the Local Rules of

the District of Massachusetts, certif,red paper copies of all records and proceedings in the State

CourtAction,   as   well as a disk containing PDFs of all records and proceedings in the State Court

Action, shall be filed with the Clerk of Court within 28 days of this Notice of Removal. A copy

of the Cornplaint tl-rat was served upon Defendant's counsel is attached hereto as Exhibit A.

        5.     A removal notice        and a copy of the instant Notice of Removal shall be filed with

the Clerk of the Superior Court of Berkshire County, Commonwealth of Massachusetts, and shall

be served on Plaintiff.

        6.      Plaintiffls Cornplaint names only TWCI as a defendant in this action. However,

TWCI never ernployed Plaintiff and melged out of existence into Spectrurn Management Holding

Company, LLC ("Spectrum") before the filing of this action, on May 18,2016. (Declaration of

Martina Davis ("Davis Decl.") fl 4, attached hereto as Exhibit      B.)   Instead, TWC Administration

LLC ("TWCA") employs Plaintiff (id. at\ 3) and is the only proper defendant in this action. While

its consent is not technically reqr"rired since it has not been named in this action and is not a pafty,

TWCA consents to removal of this action and does not oppose being substituted as the

appropriately narned party in lieu of TWCI at the appropriate tirne. Spectrum, as successor by

merger to the named Defendant in this action, also consents to the removal of this action.

       7.       Removal to this Court is proper pursuant to 28 U.S.C. $$ 1441 and 1446 because

the State Court Action is currently pending in this Judicial District.

                                 lI.       DIVBRSITY JURISDICTION

        8.     Removal of tliis action is proper under 28 U.S.C.          $ 1332 because the parties'
citizenships are fully diverse and the amount in controversy for Plaintifls claim is more than

$75,000, exclusive of interest and costs.



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       A.           Complete Diversity of Citizenship Exists Between Plaintiff and Defendant

       9.           Plaintiff adrnits that he is a resident of the Commonwealth of           Massachusetts

(Cornpl.   fl   1), and he is therefore a citizen of the Commonwealth of Massachusetts   .   See 28 U.S.C.


$ 1332(a)(1) (individual is a citizen of state in which he or she is domiciled).

       10.          Based upon the below, both Spectrum, the successor by rnerger to TWCI, and

TWCA, the proper defendant, are citizens of the States of Alabama, Connecticut, Delaware, and

New York:

                    a.     TWCA is a Delaware lirnited liability company with its principal place of

       business in       Missouri. (Davis Decl. fl 5.a.) TWCA's sole member is Time Warner Cable

       Enterprises, LLC ("TWCE"), a Delaware limited liability company with its principal

       business in       Missouri (Id)

                    b.     Time Warner Cable, LLC ("TWC LLC"), a Delaware limited liability

       company with its principal place of business in Missouri, is the sole member of TWCE.

       (Id. at I s.b.)

                    c.     The sole member of TWC LLC is Charter Communications Operating, LLC

       ("Chafter Communications Operating"), which is a Delaware limited liability company

       with its principal place of business in Missouri. (Id. at'll5.c.)

                    d.     The sole member of Charter Communications Operating is CCO Holdings,

       LLC ("CCO Holdings"), a Delaware limited liability company with its principal place of

       business in Missouri.       (Id   at   '11   5.d.)

                   e.      The sole member of CCO Holdings is CCH          I Holdings,   LLC ("CCH       I

       I-loldirrgs"), a Delaware limited liability company with its principal place of business in

       Missouri. (Id. af li5.e.)



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          f.      The sole member of CCH I Holdings is CCHC, LLC ("CCHC"),ãDelaware

 limited liability company with its principal place of business in Missouri. (Id. atll 5.f.)

          g.      The sole member of CCHC is Charter Communications Holding Company,

 LLC ("Charter Communications Holding Co."), a Delaware limited liability cornpany with

 its principal place of business in Missouri. (Id. atlT5.g.)

          h.      The sole member of Charter Communications Holding Co. is Spectrum, a

 Delaware limited liability company with its principal place of business in Missouri. (Id. at

1ls.h.)

          i.      The sole member of Spectrum is Charler Communications Holdings, LLC

("Chafter Communications Holdings"), a Delaware limited liability compally with its

principal place of business in Missouri. (Id. at T 5.i.)

          j.      The mernbers of Charter Communications Holdings are CCH             II,   LLC

("CCH II"), a Delaware limited liability company with its principal place of business in

Missouri, and Advance/lllewhouse Partnership, a New York partnership with its principal

place of business in New     York. (Id. at ll5   j   )

                i.        The members      of CCH II are Charter Communications, Inc.,          a


          Delaware corporation with its principal place of business in Connecticut, as well    as


          Coaxial Communications       of Central Ohio LLC ("Coaxial      Communications"),

          Insight Communications Cornpany LLC ("lnsight Commr"rnications"), NaviSite

          Newco LLC ("NaviSite Newco"), and TWC Sports Newco Ll,C ("TWC Sports

          Newco"), all four of which are Delaware limited liability companies with principal

          places of business in Missouri. (Id. at ll 5.k.)




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                     1.      The sole member        of   Insight Communications, NaviSite

            Newco, and TWC Sports Newco is Charter Communications, Inc.,                   a


            Delaware corporation with its principal place of business in Connecticut.

            (Id at'!ls.l.)
                     2.      Insight Communications, NaviSite Newco, and TWC Sports

            Newco are therefore citizens of the States of Connecticut and Delaware.

            Pramco, LLC ex rel. CFSC Consortium, LLC v. San Juan Bay Marina, Inc.,

            435 F.3d 51, 54 (1st Cir. 2006) ("[T]he citizenship of a limited liability

            company is determined by the citizenship of all of its members.").

                     3.      The sole member of Coaxial Communications is Insight

            Communications, a Delaware lirnited liability company with a principal

            place    of   business   in       Missouri, whose sole member      is   Charter

            Communications, Inc., a Delaware corporation with its principal place of

            business in Connecticut. (Davis Decl. fl 5.m.)

                     4.      Because Insight Communications is a citizen of the States    of

            Connecticut and Delaware, Coaxial Cornrnunications is a citizen of the

            States   of Connecticut and Delaware.        See Pramco,   LLC, 435 F.3d at   54

            ("[T]he citizenship of a limited liability company is determined by the

            citizenship of all of its members."); supra T 10j.i.2.

                     5.      Accordingly, since eacl, of its members is a citizen of the

            States   of Connecticut and Delaware, CCIJ II is a citizen of the States of

            Connecticut and Delaware for diversity purposes. See Pramco, LLC, 435




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             F.3d at 54 ("[T]he citizenship of a limited liability company is deterrnined

             by the citizenship of all of its members.").

           ii.        The partners      of     Advance/Newhouse Partnership are A/NPC

      Holdings LLC ("A/NPC Holdings") and A/NP Holdings Sub, LLC ("A/NP

      Holdings Sub"), both Delaware limited liability companies with principalplaces of

      business in New    York. (Davis Decl. fl 6.a.)

                       1.       The sole member of A,¡I'JP Holdings Sub is A/NPC Holdings.

             (Id   atfl 6.b.)

                      2.        The rnernbers of A/NPC Holdings are Newhouse Cable

             Holdings LLC ("Newhouse") and Advance Commur,ications Company

             LLC ("Advance Communications"), both New York limited liability
             companies      witli principal places of br"rsiness in New York. (Id. atll6.c.)

                      3.        The sole member of Newhouse is Newhouse Broadcasting

             Corporation, a New York corporation with its principal place of business in

             New York. (Id. at 6.d.)

                      4.        The sole member        of   Advar-rce Communications    is   the

             Birmingharn News Company, an Alabama corporation with its principal

             place of business in Alabama. (Id. at6.e.)

                      5.        Accordingly, A/ì\P Holdings Sub, A/NPC Holdings, and

             therefore Advance/Newhouse Partnership are citizens             of the   States of

             Alabarna and New York for diversity purposes. Morson v. Kreindler &

            Kreindler, LLP,616 F. Supp. 2d 17l,l73 (D. Mass. 2009) ("The citizenship




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                         of an unincorporated entity, such as a paftnership, is determined by          the

                         citizenship of all its members.").

                     iii.        Because its members are citizens       of the States of     Connecticut,

                Delaware, and New York, Charter Communications Holdings is a citizen of the

                States   of Alabarna, Connecticut, Delaware, and New York for diversity purposes.

                See Prantco,   LLC,435 F.3d at 54 ("[T]he citizenship of    a   lirnited liability company

                is deterrnined by the citizenship of all of its members.").

                k.       Accordingly, at the time of the filing of this action and as of the date of this

       removal, Spectrurn is now and has been a citizen of the States of Alabama, Connecticut,

       Delaware, and New York for purposes of determining diversity jurisdiction. See id.

       ("[T]he citizenship of   a   limited liability company is determined by the citizenship of all of

       its members.").

                l.       Likewise, at the tirne of the filing of this action and as of the date of this

       removal, TWCA is now and has been a citizen of the States of Alabama, Connecticut,

       Delaware, and New York for purposes of determining diversity jurisdiction. See id.

       ("[T]he citizenship of a lirnited liability company is determined by the citizenship of all of

       its members.").

       1   1.   Accordingly, complete diversity exists because Plaintiff is a citizen of a state

different than Spectrum, TWCI's successor by merger, and the proper defendant, TWCA.

       B.       The Amount in Controversy Exceeds S75,000

       12.      District coufts have originaljulisdiction of all civil actions where the amount in

coutroversy exceeds the sum or value of $75,000 and is between citizens of differeut states. 28

U.S.C. $ 1332(a).



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          13.    "Because the party invoking federal jurisdiction bears the burden of demonstrating

that the couft has subject-rnatter jurisdiction over the case, [Defendant] must show that the amount

in controversy exceeds $75,000." Milfurd-Bennington R.R. Co., Inc. v. Pan Am Rys., [nc.,695

F.3d 1 75,178 (lst Cir. 2012) (internal citation omitted). However, a removing defendant does not

need    to establish that the jurisdictional threshold is rnet with legal ceftainty, or even by          a


preponderance of the evidence, but is only required to "der¡onstrate that there is a 'reasonable

probability' that the amount in controversy exceeds $75,000." Youtsey v. Avibank Mfg., Lnc.,734

F. Supp.2d230,233 (D. Mass.2010).

          14.    Here, Plaintiff has not claimed a specific amount of damages. Therefore, the Court

rnay look to the factual allegations in the Complaint and in this Notice of Removalto determine          if
tlrere is a o'reasollable probability" that the amount in controversy has been satisfied. Composite

Co., Inc. v. Am.   Int'l Grp., lnc.,988 F. Supp. 2d 61,74 (D. Mass. 2013) ("Defendants can satisfy

their burden by'relying on the face of the complaint in the r-rnderlying case,'by alleging facts in

its notice of removal to support its amount in controversy allegation, or by subrnitting'summary

judgrnent type eviden".."'); see also Joseph E. Bennett Co. v. Trio Indus., 306      F   .2d 546, 548 (l st

Cir. 1962) ("On its face the plaintiff s complaint shows an amount in controversy adequate for

federal j urisdiction.").

          15.    Removal under 28 U.S.C.       $ 1332 is proper where the aggregate amount of            a


plaintiffls claims exceeds S75,000.    See 28 U.S.C. $   1332(a). While Defendant denies Plaintifls

claims of wrongdoing and denies his requests for relief thereon, the facial allegations in Plaintiff's

Cornplaint ar,d the total amount of wages, interest, attorneys' fees, injunctive relief, and other

monetary relief at issue in this action is in excess ofthis Couft's jurisdictior-ralrninintum, calculated

as   follows:



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                         Plaintiffls Alleeations of Unpaid Hours Worked

          16.    Until October 2014, Defendant had an "auto-deduct policy" in place in which

Defendant's tirnekeeping systern would deduct thirty rninutes per day from each employee's

scheduled hours to be worked to account for meal breaks. (Davis Decl. fl        7.) After October 2014,

Defendant required its ernployees to manually punch in and out of the timekeeping system for their

meal breaks. (Id.)

          17.    Defendant has ernployed Plaintiff as a technician since May 2004. (Compl. flfl 3-

4.)

          18.    Plaintiff alleges that duling lris employment with Defendant he often "performed

work during his lunch period and was not paid for that time." (Id.       \   11.) According to Plaintifl

he worked through approxirnately sixty percent of his meal breaks.       (Id atl7.)

          19.    Plaintiff also contelrds that during his ernployl-nent, Defendant "suffered and

perrnitted Plaintiff to perform work . . . before and after the end of his scheduled shift," but "failed

to pay Plaintiff for all tirne spent performing such work." (Id. at llll 14, 16.)

          20.    Plaintiff alleges in his Cornplaint that "at least 4.75 hours of uncompensated time

per week, during the period when the auto-deduct policy was in effect, shor-rld have been paid at

oveftime rates, resulting in approxirnately $37.50 per hour or $178.13 not paid each week." (1d. fl

19.) He also contends that "at least 2.75 hours of uncornpensated tirne per week, during the period

when the auto-deduct policy was not in effect, shoulcl have been paid at overtime rates, resulting

in approximately $37.50 per hour or $103.13 not paid each week." (Id.          aT   T 20.)

      Plaintiff's Claims for Unnaid Overtime Wa ges and for Violation of fhe Massachusetts
                           Wase Act (First and     d Causes of Acfionl

          21.   "Under the Massachusetts Wage Act, Mass. Gen. Laws. Ch. 149,                 $   148, an

employee rlust be paid within six or seven days of the termination of the pay period during which


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the wages were    earnedl.)"' Guevara-Salgado v. Ha)¡es-Meninno, LLC,               125 F. Supp. 3d 379,386

(D. Mass. 2015). An employer who violates this statute must pay the plaintiff treble datnages "as

liquidated damages, for any loss of wages, and an award of costs and reasonable attomey's fees."

1d; Mass. Gen. Laws ch. 149, $ 50.

          22.    Sirnilarly, a successful claim for unpaid oveftime wages entitles       a   plaintiff to "treble

damages, as liquidated darnages,      for lost overtime compensation,"         as   well as "the costs of the

litigation and reasonable attorney's fees." Mass. Gen. Laws ch. 151, $ 1B; see also Goodrow                    v.


Lane Bryanl, Inc., 432 Mass. 165, 178 (2000).

          23.    The relevant tirne period covering Plaintiffls claims for unpaid wages and unpaid

oveftime wages is tl,ree years.     ,See   Mass. Gen. Laws. ch. 151, S 204 ("The provisions of this

chapter shall not be applicable to any cause of action accruing more than 3 years prior to the date

off,rlingincourtofacrirninal orcivil action."); Drexlerv.TelNexx, Inc.,l25F. Supp.3d361,

378 (D. Mass. 2015) ("The statute of lirnitations for Wage Act clairrs is three years.")

          24.    According to Plaintiff s allegations, Defendant violated Mass. Gen. Laws ch.149,

$ 148 "by not paying Plaintiff all wages to which he was owed, including time he worked before

his shift, after his shift, and during lunch." (Cornpl. 1135.)

          25.    Plaintiff also alleges that Defendant violated Mass. Gen. Laws ch. 151, tf lB "by

not paying Plaintiff tirne-and-a-half for all hours worked over 40 in a work week, including tirne

lre worked before his shift, after his shift, and during lunch." (Id. at 1T30.)

          26.    Over tl, e three-year time span relevant to this clairn   -   fi'om May     27   ,201 3 through

the   filing of this instant notice of removal- Plaintiff worked at least 161 full      weeks.

          27.    Using Plaintiff-s own allegations, he seeks to recover $65.561.79 in counection

with his claims for unpaid wages and unpaid overtime wages, calculated as follows:



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                 à.     537,407.30 while Defendant's auto-deduct policy was in place (S178.13

          weekly wages x 70 weeks fi om May 31, 2013 to October 2, 2014 x 3 for treble darnages),

          plus

                 b.     528,154.49 after Defendant discontinued its auto-deduct policy ($103.13

          weekly wages x   9l   weeks frorn October 3,2014 to June 30,2016 x 3 for treble darnages).

       Plaintiffls Claims for Breach of Contract and Uniust Enrichment (Third and Fourth
                                         Causes of Action)

          28.    The relevant time period covering Plaintiffls breach        of   contract and uirjust

enrichment claims is six years. Mass. Gen. Laws ch. 260, $ 2 ("Actions of contract, other than

those to recover for personal injuries, founded upon contracts or liabilities     . . . shall, except   as


otherwise provided, be commenced only within six years next after the cause of action accrues.");

Palandijan v. Pahlavi, 614 F. Supp. 1569, 1577 (D. Mass. 1985) (applying six-year statute of

lirnitations to unjust enrichment claim "to recover from another money which in good equity and

good conscience he is not entitled to keep").

          29.    According to Plaintift "Time Warner and Plaintiff were pafties to an agreement

pursuant to which Plaintiff prornised to perform services on Time Wamer's behalf and Time

Warnerpromised to pay Plaintiff for all hours worked." (Conrpl. fl 38.) Plaintiff alleges that he

complied with his obligations under the alleged contract between him ancl Defenclant, but that

Defendarrt breached the contract "by failing to pay Plaintiff for all hours worked." (Id. at flfl 39-

40.)

          30.    Plaintiff also contends that he "conferred a benefit upon Time Warner by

perforrning services on its behalf," but that "Time Warner accepted and retained that benef,rt under

unjust and inequitable circumstances insofar as         it did not compensate Plaintiff for all hours
worked." (Id ffi43,45.)


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       31.     Ovel the three-year time span relevant to these claims for breach of contract and

unjust enrichment    - from May 27,2010 to May 26,2013, excluding the period when Plaintiff
would be entitled to treble damages as discussed supra   - Plaintiff   worked at least I 58 full weeks.

       32.     Using Plaintiff s own allegations, he looks to recover $28.144.54 in connection

with his claims for breach of contract and unjust enrichment ($178.13 weekly wages x 158 weeks).

       33.     Accordingly, Plaintiffs alleged damages total $93.706.33 ($65,561.79                 for'

Plaintiffs First and   Second Causes   of Action plus $28,144.54 for Plaintifls Third and Fourth

Causes of Action).

                                          Attorney's Fees

       34.     "Even though attorney's fees are typically excluded from the amount-in-

controversy determination, there are two exceptions to this rule: when the fees are provided for by

contract, and when a statute mandates or allows payment of the fees." Get in Shape Franchise,

Inc. v. TFL Fishers, LLC, No. l5-12997-PBS, --- F. Supp. 3d ---,2016 WL 951107, at *7 (D.

Mass. Mar.9,2016). Both Mass. Gen. Laws ch. 151, $ 1B and Mass. Gen. Laws ch. 149, $ 148

allow forthe recovery attorney's fees. ^le¿ Mass. Gen. Laws ch. 151, $ 1B (allowing for recovery

of attomey's fees in connection with claim for unpaid overtime compensation); Mass. Gen. Laws

ch. 149, $ 50 (allowing for recovery of attorney's fees in connection with claim for violation of

the Wage Act). Accordingly, attorney's fees may be considered with respect to the amount-in-

controversy calculation. Get in Shape Franchise, Inc.,2016 WL 95 1107 , at *7 .

       35.     This Court has recer,tly held that in clairns for r-rnpaid wage, reasonable attorney's

fees arrd expenses would   "likely [be] in the neighborhood of $15,000 to $25,000, and no greater

than $50,000." Huston t,. FLS Language Centres, 18 F. Supp.3d 17,24 (D. Mass. 2014)

(considering attorney's fees for amount-in-controversy calculation for r.urpaid wage claim).



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        36.    Thus, assuming the Court would award $15,000 in attorney's fees, the total

amount in controversv is at least $108,706.33 ($93,706.33 in damages plus f[15,000 in attorney's

fees), and exceeds the $75,000 threshold.

        37.    WHEREFORE, having provided notice as required by law and demonstrating the

existence of diversity jurisdiction pursuant to 28 U.S.C. $ 1332, the above-entitled action should

be removed from the Superior Court    of Berkshire County, Cornmonwealth of Massachusetts to

this Courl.




        Dated: Iuly 1,2016

                                             /s/ Andrew L. Baldwin
                                             ANTHONY GIARDINO, BBO # 672272
                                             agiar dino @kco   z   I   aw. com
                                             KABAT CHAPMAN & OZMER LLP
                                             171 17th Street NW
                                             suite 1500
                                             Atlanta, GA 30363
                                             Tel: (404) 400-7300


                                             DANIEL TARLOW, BBO# 552920
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                                              I International Place, Suite 3700
                                              Boston, MA 021l0
                                              Tel: (617) 4s6-8000
                                              F-ax: (617) 456-8100

                                             Attorneys .for Defendcrn t




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          Case 1:16-cv-1-1392 Document L Filed 07101,11,6 Page L4 of 14



                                    CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was      served upon the attorney   of

record for Plaintiff, identified below, by U.S. Mail on July I ,2016:

                                     Benjarnin K. Steffans
                              Cohene Kinne Valicenti & Cook LLP
                                   28 North Street, 3rd Floor
                                     Pittsfield, MA 01201




                                                    /s/ Andrew L. Baldwin
                                              Andrew L. Baldwin




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                EXI{IBIT A
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                               COMMONIù/EALTH OF MASSACHUSETTS

Berkshire, ss.                                                     Superior Court Deparúnent
                                                                   Civil Action No:


 WALTER SICOTTE,                                                ÏHË OOMMOruWEALTH OF MA$SAOHI'SËTT$
                                                                        8ËRI{$H|RË S.S.   $UpËAtffi 0CIuRT
                        Flaintiff,                                 F                                     ts
                                                                   I                                         I
                                                                   !_                                    L
vs                                                                              MAY   s?     a0¡fi       Ë
                                                                   D                                     m
 TIME W.ARNER CAELE"                 tnc""
                                                                          t                #K*^
                        Defesrda¡at.



                                 COMPLATNT 4,Np JURY pE-MAND

        Walter Sicotte ("Plaintiff'), by and th,rough his attorneys, Cohen Kinne Valicenti & Cook,

LLP" states as follows for his complaint against Time \&'arner Cable, Inc. ("Time Warner').

                                                  Parties_

         t.      Plaintiff     is an individual residing at       276 King Richard Drive,                Becket,

Massachusetts,    0 I 23 3 .


        2'       Defendant Time lù/arner Cable, Inc. is a Delaware corporation with a principal

place of business located at 60 columbus Circle, New york, New                york 10023.

                                               BFcksround

        3.       Plaintiff began working at Time V/amer, as a Massaçhusetts employee, on or

around May 15, 2A04 andatall relevanttimes was employed by Time Wamerunderthe state laws

of Massachusetts.

        4.       At all relevant times, Plaintiff was employed         as a technician     with an average rate

of pay of approximately $25.00 per hour"

        5'       ,ft all relevant times, Plaintiffv/as   scheduled to work 42.5 hours per week.



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              6'    During the course of Plaintiff s employment at Time Wamer he was classified
                                                                                                as a

 non-exempt employee and, accordingly, was entitled to time-and-a-half for all hours
                                                                                     worked over
 4A   n   aworkweek.

              7.   In addition to the scheduled hours listed above, Plaintiffworked time for which he

 was not compensated, as further discussed below, including            (i) during his meal breaks which    he

missed approximately 60Vo ofthe time, resulting in 1.5 hours during a typical week,
                                                                                    when he was,

for example, traveling to and from worksites, answering phone calls, checking service lists,

ordering stock, and checking email; (ii) before his scheduled start time in order to, for example,

check email, review work lists, check signal levels, stock orderso and answer phone
                                                                                    calls, typically

resulting in 20 minutes per shift; and (iii) after his scheduled shift in order to, for example,
                                                                                                 check

emails, review worklists, check signal levels, stock orders, and answer phone calls, typically

resulting in 10 minutes per shift.

          8.       During PlaintifPs employment, Time $y'amer implemented an auto-deduct lunch

break policy.

          9.       Under this policy, Time V/amer's timekeeping system automatically deducted
                                                                                              time
from Plaintiff s paychecks each day for meal breaks.

          10.      Plaintiff was deducted   at least   thirty minutes from his pay each shift he worked.

          I   l.   Plaintiff performed work during this lunch period and was not paid for that time.

During this time, Plaintifftraveled to and from worksites, answered phone calls, checked
                                                                                         service

lists, ordered stock, and checked email.

          12.      Time Warner, at all times, was aware that Flaintiff worked through lunch and

regularly did not take lunch breaks because (1) Time Warner requested that Plaintiffperform
                                                                                            work
during his luneh period, (2) that work was performed in full view of Time Warner's
                                                                                   nranagers and




                                                                                                           2
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        Case L:1,6-cv-LI392 Document 1-1 Filed 07/0L/1-6 Page 3 of I




 supervisors or with their actual knowledge, (3) that work was performed at their
                                                                                  direction, (4)
 Time Warner numagers set performance deadlines, standards, and goals that required plaintiffto

 work through his lunch period, and (5) Time Warner v/as told that technicians, including plaintifl

 were working through their meal periods.

            13'   Fwther, Time Wamer did not prohibit Plaintifffrom working through his uupaid

 lunch períod.

            74'   During Plaintiff s employment, Time Wamer suffered and pennitted plaintiff to

perform wotk, to Time'Warner's benefit, before and after the end ofhis scheduled
                                                                                 shift.

            15.   For exarnple, before and after his shift, Plaintiffchecked email, reviewed work
                                                                                                  lists,
checked signal levels, stocked orders, and answered phone calls.

            16.   Time Wamer failed to pay PlaintifÏfor atl time spent performing such work.

        17.       Time Wamer, at all times, has been aware that Plaintiffworked before and
                                                                                           afrer his

scheduled shifts because (1) Time Warner requested that Plaintiffperform work
                                                                              before and after

his shift, (2) that work was performed in futl view of Time Warner's managers and
                                                                                  supervisors oï

with their actual knowledge, (3) that work was performed at their direction, (4) Time Wamer

managers set performance deadlines, standards, and goals that required Plaintiff
                                                                                 to work before
and after his shift, and (5) Time Warner was told that technicians, including   Plaintifi   were working

before and after their shifts.

        I   8.    Time Vlarner has not paid Plaintifffor all work performed before and after his
                                                                                                 shift.
        19.       This additional time of at least 4.75 hours of uncompensated time per week,
                                                                                              during
the period when the auto-deduct policy was in effecto should have been paid at overtime
                                                                                        rates,

resulting in approximately $37.50 per hour or $17g.13 not paid each week.




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        20.      This additional time of at least 2.75 hours of uncompensated time per week, during

the period when the auto-deduct policy was not in effect, should have been paid at overtime rates,

resulting in approximately 37.50 per hour or $103.13 not paid each week.

        2l-      Time Warner and Plaintiff entered into express and implied contracts that were

intended to govem their relationship.

        22   ,   A term ofthose agreements included that Plaintiff would provide labor and services

as a technician in exchange for a promise to be paid for all hours worked.

        23'      As alleged herein, Plaintiff regularly workcd hours for which he was not paid.

        24.      Time Warner breached its contact with Plaintiff by failing to pay him/tris for all

hours worked.

        25.      This breach proximately damaged plaintiff.

        26-      Plaintiff conferred   a benefit upon   Time Warner by performing services, including

those identified above, on Time Warner's behalf,

                               Count   I   -- Violation of M.G.L.   151 s. 1B

        27.      Plaintiffincorporateshisprevious allegations.

        28.      Plaintiffis or was a non-exempt employee of Time       Vy'amer.

        29,      M.G.L. c. 151 s. 18 required Time 'Warner to pay Plaintifftime-and-a-half for atl

hows worked over 40 in     a   work week.

        30.      Time rü/arner violated M.G.L. c. 151 s. 1B by not paying Plaintiff time-and-a-half

for all hours worked over 40 in a work week, including time he worked before his shift, after his

shift, and dtring lunch.

        31.      Time Warner's violations of M.G.L. c. 151 s nB entitte Plaintiffto a trþle measure

of his unpaid wages, attorneys'fces, interest, and eosts.



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                             Count,?    - Violatioagf-M,G,L.g.      I 4g_$,-!4g

          32.    Plaintiffincorporates his prerious allegations.

          33.    Plaintiff is or was a non-exempt employee of Time warner.

          34.    M-G.L. c. 149 s. 148 required Time rüamerto pay Plaintiff all wages to which he

 was owed, consistent with legal requirements-

          35.    Time rü/arner violated M.G.L. c. 149 s. 148 by not payrng Plaintiffall wages to

which he was owed, including time he worked before hís shift, after his shift, and during lunch.

          36.    Time Warner's violations ofM.G.L. c.149 s. 148 entitle Plaintiffto   a   triple measure

of his unpaid wages, attorneys'fees, interast, and costs.

                                    Count 3-- Breach of Contract

          37.    Plaintiff incorporates his previous allegations.

          38-    Time Warner and Plaintiff were parties to an agreement pursuant to which

Plaintiff promised to perform services on Time Warner's behalf and Time 'Warner promised to

pay   Plaintifffor all hours worked.

          39.    Plaintiffsatisfactorily performed under that agreement by performing services on

Time Warner's behalf.

          40.   Time Warner did not satisfactorily perform under that agreement by failing to pay

Plaintiff for all hours worked.

          41-   Time rü/arner's breach of the parties' agreement has proximately injured plaintitr

                                   Çquut    4:   U"_ni$sj   Endchqent

          42.   Plaintiff incorporates his previous allegations.

          43.   Plaintiffconfened   a   benefit upon Time W'amer by performing services on its

behalf.




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        44.     Time Warner, as explained above, was aware of the benefit conferred upon it by

Plaintiff.

        45.     Time Wamer accepted and retained that benefit under unjust and inequitable

circumstances insofar as   it did not   compensate Plaintiff for all hours worked.

        Wherefore' Plaintiff respectfully requests this Court to enter judgment that:

        A.      Time Warner is liable to Plaintiff for the violations of the Massachusetts Wage Act

identiflred in this Complaint;

        B.      Time Wamer is liable to Plaintiff for breach of contract;

        C.      Time V/arner is liable to Plaintiff for unjust enrichment;

        D.      Time Warner is liable to Plaintiff for compensatory darnages in an amount to be

proven af ttial,plus triple damages, attorneys' fees, interest and costs; and

        E.      Such other relief this Court deems just and proper.

                                                  Respectfully submitted,

                                                  \ryAÏ,TER. StrCOT'TE,

                                                  By his attomeys,



                                                                             s68535)
                                                  COTIEN KINNE VALICENTI & COOK, LLP
                                                  28 North Street, 3td Floor
                                                  Pittsfield, MA 01201
                                                  Telephone (413) 4 43 -9399
                                                  Facsimile (413) 442-9399
            L'|.zOtO
Date: Mav.-.-f¿




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                            Case l-:1-6-cv-1-1-392 Document l--1- Filed 07/01/1-6 Page 7 of 8


                                                                          DOCKET NU]I'BER
        CIVIL ACTION COVER SHEET                                                                                              TrialG ourt of Massachusetts                    c\
                                                                                                                              The Superior Court                           rlfu'Ê
  PLA|NflFF(S)                                      Waller Sicotte
  ADDRESS:                                    216 Kins Richard Drive                                                                            Berkshíre
                                        Becket. MA 021 33                                       DEFENDANT(S)t                         TimeWarner Cable, lnc.

  ATTORNËY:                                              Steffans
 ADDRESS:                            Cohen K¡nne Valícenti & took LLp                           ADDRESS                                 60            Circle
                                  28 North Street, 3d Floor
                                                                                                                               New      NY 10023
                                     Pittsfield, MA 0 1201
 BBO:

                                                                               AND                                  reverce
               CODE NO.                               TYPE OF ACTTON (specify)                           TRACK                  HAS A JURY CLAIM BEEN MADE?
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                                                                          (attach additional sheets as necessary)

   Documented medical expenses to date
         1. Total hospital expenses ........
        2. I otal doctor expenses ..........,......................                                                                                            $
        3. Total chiropractic expenses .,...-                                                                                                                  $
        4. Total physical therapy expenses                                                                                                                     s
        5, ïotal other expenses (describe below)                                                                                                               $
                                                                                                                                                               $
                                                                                                                                             Subtotal (A):     $           0.00
   Documented lost wages and compensation to date
   Documented property dåmages to dated                                                                                                                        $
   Reasonably anticipated future medical an d hospital expenses                                                                                                $
   Reasonably antÍcipated lost wages                                                                                                                           $
F. Other documented items of damages (describe below)                                                                                                          $
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                                   of                                        1 and                              lnterest
  Briefly describe plaintiffs injury, including the nature and extent of injury:
                                               Vioahions of Massachusetts Waoe Act
                                                                                                                                             TOTAT (Â-F):    S        s0,000.00

                                                                                   CONTRACT CLAIMS
                                                                          (attach additional sheets as necessary)

        a detailed description of cla¡ms(s):

                                                                                                                                                    TOTAL $



   nature of                    Se Plaintiff: X
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Signature of Attorney of Record: X                                                                                                                             -\,/
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                                                                                                                                                     Turbolaw (800) S1B-8726
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                           Case 1-:L6-cv-11392 Document l--1 Filed 07/01i1-6 Page I of B

                                              CIVIL ACTION COVER SHEET åNSTRUCTIONS
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          Munícipality, MBTA,     etc.             (A)
                                                                                                                    (A)            Col   Land Taking                                   (F)
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      -
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                                                                                                                (F)               Cgg Other Real property Acflon                       (F)
                                                                D07    imposition of â Trust                    (A)
          Municipdity, MBTA,      etc.             (A)          D08    Minor¡ty Shareholdels Suit               (A)
      AE1 Adminislrallve Aci¡oô involvjng                       D09    lnterErefice in Conlfaclqal Retat¡onship (F)
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      403   Commerclal Paper                          (F)
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     or is a Prisoner Habeâs Corpus case (Eg7).                                                                                              RC Rêstrlctêd C¡v¡l Actionq

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                                                                                                                                 E94 Fo¡Ëlture, G.L. e26s 5g6                 (x)
                                                            TRANSFER YOUR SELECTION TO THE FACE SI{EET

         EXAMPLË:
         coDE ¡uÕ.                            WPE OF AGTION (spec¡fy)                       TRACK                         HAS A JURY CLAIM BEEN MADÊ?
         803                      Motor Vehlcle Negligence-pe16onal I njury                      F                        EIYes             E no
                                              STÀTEMENT OF DAMAGES PURSUANT To G,L. c. 212,
                                                                                            S tA
DurY oF THE PLAINTIFF - The plaintiff shall set forth, on the face of the civil actíon cover
                                                                                             sheet (or attach addilional sheets as necessary), a
statement specifying the facts on which the plaintiff relies to determine money
                                                                                la¡qses,  A copyìisucrr civíl action .or"ri¡"ut, inctuding the
statement as to the damages, shall be servéd with the complaint. À ci"ir-*ásistratË
                                                                                       shall näí accept for filing e comple¡nt, except as
otherwise provided by law, unless it is accompanied by such a etatemenì
                                                                                 Eigned by the attorney or pro se party.
ÞurY oF THE DEFENDANT ' lf the defendant believes that the statêment of damages filed
                                                                                            by the plaintiff is inadequate, the defendant may file
with his/her answer a statemeRt specifying ihe potential damages which may
                                                                           result iithc plaintìff prevails.


                                    A CIVIT EOVER S¡{EET MUST BE FILED WITH €ACH COññPLAINT.
                             FAITURE TO GOñfiBUËTE TI{I$ GOVER SHEET THOROI,,IGHLYAh¡T}
                                                                                        AËEURATËLY
                                             MAY RESULT IN DISñ¡iISSAL OF THIS ACTION.
                                                                                                                                                              Turbolaw (800) 5tB-S726
Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 39 of 60




                 EXHIBIT B
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          Case t:L6-cv-tL392 Document l--2 Filed 07i01-l1-6 Page t of 4



              DECLAR,4.TIOIV OF' MARTIN A DÄVIS IN SUPPORT OF'REMOVAL

         I, Martina Davis, declare as follows:

         l.        I am employed   as a Manager, Corporate Legal   Affairs in New York, New York. I

have personal knowledge        of the matters set forth   herein, including knowledge based upon

corporate records and data which are within my custody and control and the knowledge gained

from reviewing the corporate records of Time Wamer Cable Inc. ("TWCI") and of its successor

by merger, Spectrum Management Holding Company, LLC ("Spectrum"), which are maintained

in the ordinary course of business. If called and sworn as a witness, I could and would competently

testifu thereto.

        2.         This declaration is submitted in support of the removal of the following    cases

pending    in the Superior Court of Berkshire         County, Commonwealth       of   Massachusetts:

1676CV00151; 1676CY00152; 1676CV001 53:' 1676CY00154; 1676CV001                  55   1676CY00159;

1676CV001 60; 1676CY00161; and 1676CV00175,

        3.         Time Warner Cable Administration ("TWCA") currently employs or has employed

the plaintiffs in the above-listed cases pending in the Superior Court of Berkshire County,

Commonwealth of Massachusetts.

        4.         On May 18, 2016, TWCI, a former Delaware corporation with its principal place

of business in New York, merged out of existence into Spectrum Management Holding Company,

LLC ("Spectrum").

        5.         Moreover, based upon my review       of the Company's business       records and

information, i have knowledge that:
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    Case 1,'.I6-cv-1,L392 Document l--2 Filed 07/01-/1-6 Page 2 ol 4



         a.      TWCA is a Delaware limited liability company with its principal place of

 business    in Missouri. TV/CA's sole member is Time Warner Cable Enterprises LLC

 ("TWCE"), a Delaware limited liability company with its principal business in Missouri.

        b.       Time V/arner Cable, LLC ("TV/C LLC"), a Delaware limited liabitity

 company with its principal place of business in Missouri, is the sole member of TWCE.

        c.       The sole member of TWC LLC is Charter Communications Operating, LLC

 ("Charter Communications Operating"), which is a Delaware limited liability company

 with its principal place of business in Missouri.

        d.       The sole member of Charter Communications Operating is CCO Holdings,

 LLC ("CCO Holdings"), a Delaware limited liability company with its principal place of

business in Missouri.

        e.       The sole member of CCO Holdings is CCH              I Holdings,   LLC ("CCH I

Holdings"), a Delaware limited liability company with its principal place of business in

Missouri.

        f.       The sole member of CCH I Holdings is CCHC, LLC ("CCHC"),aDelaware

limited liability company with its principal place of business in Missouri.

        g.       The sole member of CCHC is Charter Communications Holding Company,

LLC ("Charter Communications Holding Co,"),          a   Delaware limited liability company with

its principal place of business in Missouri.

        h.       The sole member of Charter Communications Holding Co. is Spectrum,            a

Delaware limited   liability company with its principal place of business in Missouri.




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    Case L:I6-cv-1,I392 Document 1-2 Filed 07/01-/1-6 Page 3 of 4



         i.      The sole member of Spectrum is Charter Communications Holdings, LLC

 ("Chafier Communications Holdings"), a Delaware limited liability company with its

 principal place of business in Missouri.

        j.       The mernbers of Charter Communications Holdings are CCH              II, LLC
 ("CCH II"), a Delaware limited liability company with its principal place of business in

 Missouri, and Advance/lrtrewhouse Partnership, a New York partnership with its principal

 place of business in New York.

        k.       The members of CCH         II   are Charter Communications, Inc., a Delaware

 corporation with its principal place       of business in   Connecticut, as well as Coaxial

 Communications       of   Central Ohio LLC ("Coaxial Communications"), Insight

 Communications Company LLC ("Insight Communications"), NaviSite Newco LLC

 ("NaviSite Newco"), and TWC Sports Newco LLC ("TWC Sports Newco"), all four of

 which are Delaware limited liability companies with principal places of business in

 Missouri.

        t.       The sole member of lnsight Communications, NaviSite Newco, and TWC

 Sports Newco is Charter Communications, Inc., a Delaware corporation        with its principal

 place of business in Connecticut.

        m.       The sole member of Coaxial Communications is Insight Communications,

 a Delaware   limited liability company with a principal place of business in Missouri.

 6,     Based upon public records made available to me, I have knowledge that:

        a.       The partners of Advance/lrtrewhouse Partnership are A/¡{PC Holdings LLC

 ("4/1.{PC Holdings") and AAtrP Holdings Sub,             LLC ("A/NIP Holdings Sub"),     both

Delaware limited liability companies with principal places of business in New York.



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                b.      The sole member of AA{p Holdings Sub is AAIpc Holdings.

                c,      The members of AÆ{PC Holdings are Newhouse Cable Holdings LLC

        ("Newhouse")       and Advance              Communications Company         LLC    ("Advance

        Communications"), both New York limited liability companies with principal places of

        business in New York.

                d.      The sole member of Newhouse is Newhouse Broadcasting Corporation, a

        New York corporation with its principal place of business in New York.

                e'      The sole member of Advance Communications is the Birmingham News

        Company, an Alabama corporation with its principal place of business in Alabama.

        7.      Based upon corporate information made available to me,       I   have knowledge that

until October, 2074, Defendant had an "auto-deduct policy" in place in which Defendant's

timekeeping system would deduct thirty minutes per day from each employee's scheduled hours

to be worked to account for meal breaks. After October 2014, Defendant required its employees

to manually punch in and out of the timekeeping system for their meal breaks.

       I declare under penalty of perjury under the laws of the United    States of America that the

foregoing is true and correct.

       Executed this   l't day of July,2016,   at   New york, New york,


                                                                                    {\

                                                                    TINA DAVIS




                                                     4
                 Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 44 of 60
                                                                                                                                               4{


                                     COMMONWEALTH             Oþ- MAS SACHU SETTTS


BERKSHIRE,               ss                                       SUPERIOR COURT DEPARTMENT
                                                                  CIVIL ACTION NO. 1676CV00155

                                                          )
V/ALTER SICOTTtr                                          )
                                                          )
                        Plaintiff,                        )
                                                          )
V                                                         )
                                                          )
TIME WARNER CABLE, INC                                    )
                                                          )
                        Defendant.                        )
                                                          )

                                             NOTICE OF RBMOVAL

                 Please take notice that, pursuant to 28 U.S.C. $ 1441, Defendant Time'Warner Cable, Inc.

("Defendant") has fìled a Notice of Removal of the above-captioned action in the United States

District Court for the District of Massachusetts on July 1,2016. A certified copy of the Notice of

Removal is attached hereto as Exhibit A

                 Please take fulther notice that, upon   filing of this Notice of Removal with the Clerk of the

Berkshire Superior Court in accordance with 28 U.S.C. $ 1446(d), the Superior Court shall

proceed no further herein unless and until the case is rernanded.




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              Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 45 of 60




                                             TIME WARNE,R CABLE, INC

                                             By its attorneys,



                                             Daniel              BBO# 552920
                                             dtarlow@Princelobel. com
                                             Joseph L. Edwards Jr., BBO# 564288
                                             j edwards@Princelobel. com

                                             Andrew L. Baldwin, BBO# 682335
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                                             PRINCE LOBEL TYE LLP
                                              I International Place, Suite 3700
                                             Boston, MA 02110
                                             Phone: (617) 456-8000
                                             Fax: (617) 456-8100


                                 CERTIF'ICATE OF' SERVICE

         I, Andrew L. Baldwin, certify that on JuIy 12,2016,I served the folegoing document on
plaintiff by sending a true and accurate copy by first-class mail, postage prepaid to counsel for
plaintifT in this action to:

                                Benjarnin K. Steffans, Esq.
                                COHEN KINNE VALICE,NTI & COOK, LLP
                                28 North Street, 3'd Floor
                                Pittsfleld, MA 01201



                                             Andrew L. B         wln




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            Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 46 of 60




                        EXHIBIT A




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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF' MASSACHUSETTS
                                   SPRINGFIELD DIVISION


 WALTER SICOTTE,
                                                                                                                  i{eþ'(
           Plaintiff                                    Civil Action No.:      ¡Çce) Wq)-"'
                                                                                               tln
                                                                                             aI ftla'fiLf'
                                                                     I hereby certifY   on       '     that ths
                                                                                döäimånt ls true and conect            st"
                                                                     iü.sïiäs                                  PpX-f
 TIME WARNER CABLE,INC.                                                 E electronic  oocxeiin  tre
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                                                                                                                r/
                                                                        Ë-electronically filed orlglnalfiled on- ' l'-
           Defendant.                                                    IJ originalfiledin my office        orì ---
                                                                                    Rol¡ert M. Farrell
                                                                                    Clerk, U.S. District Coutt
                                                                                               of



       Defendant Time Warner                                                            Notice of Removal

pursuant to 28 U,S.C. $$ 1332, 1441, and 1446. In support of this Notice, Defendant states                        as


follows:

                  I.     PROCEDURAL BACKGRO                        AND PREREOIIISITES

           l.     Plaintiff Walter Sicotte ("Plaintiff') commenced a civil action against Defendant

on or about May 27, 2016, in the Superior Court of Berkshire County, Commonwealth of

Massachusetts, Case No. 1676CV00155 (the "State Court Action").

       2.        This Notice of Removal is timely under 28 U.S.C. $$ 1446(b)-(c) because Plaintiff

served Defendant with the Summons and Complaint on June 15,2016.

       3.         In his Complaint, Plaintiff asserts claims for   (l) violation of Mass. Gen. Laws ch,
151, S 1B for failure to pay overtime wages, which allows for recovery of treble damages; (2)

violation of Mass. Gen. Laws ch.l49, $ 148 for failure to pay wages, which allows for recovery

of treble damages; (3) breach of contract seeking unpaid wages; and (4) unjust enrichment seeking

unpaid wages.



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        4.      Pursuant to 28 U.S.C. $$ 1446 and Rules 5.4(F) and 81.1(a) of the Local Rules        of

the District of Massachusetts, certified paper copies of all records and proceedings in the State

Court Action, as well as a disk containing PDFs of all records and proceedings in the State Court

Action, shall be fìled with the Clerk of Court within 28 days of this Notice of Removal. A copy

of the Complaint that was served upon Defendant's counsel is attached hereto as Exhibit A.

        5.      A removal notice and a copy of the instant Notice of Removal shall be fìled with

the Clerk of the Superior Couft of Berkshire County, Commonwealth of Massachusetts, and shall

be served on Plaintiff.

        6.      Plaintiff s Complaint names only TWCI as a defendant in this action. I{owever,

TWCI never employed Plaintiff and merged out of existence into Spectrum Management Holding

Company, LLC ("Spectrum") before the filing of this action, on May 18, 2016. (Declaration            of

Martina Davis ("Davis Decl.")    I4,   attached hereto as Exhibit   B.)   Instead, TWC Administration

LLC("TWCA")employsPlaintiff(rdat$3)andistheonlyproperdefendantinthisaction.                      While

its consent is not technically required since it has not been named in this action and is not a party,

TWCA consents to removal of this action and does not oppose being substituted as the

appropriately named party in lieu of TWCI at the appropriate time. Spectrum, as successor by

merger to the named Defendant in this action, also consents to the removal of this action.

        7.     Removal to this Court is proper pursuant to 28 U.S,C. $$ 1441 and 1446 because

the State Court Aotion is currently pending in this Judicial District.

                                II.     DIVERSITY JURISDICTION

        8.     Removal of this action is proper under 28 U.S.C.           $   1332 because the parties'

citizenships are fully diverse and the amount in controversy for Plaintifls claim is more than

$75,000, exclusive of interest and costs.



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       A.       Comnlete Ðiversitv of Citizenship            Retrveen Plaintiff and Ðefendant

       9.       Plaintiff admits that he is a resident of the Commonwealth of           Massachusetts

(Compl.tl 1),andheisthereforeacitizenoftheCommonwealthofMassachusetts.                  See28U.S.C.

$ 1332(a)(l) (individual is a citizen of state in which he or she is domiciled).

        10.     Based upon the below, both Spectrum, the successor by merger to TWCI, and

TWCA, the properdefendant, are citizens of the States of Alabama, Connecticut, Delaware, and

New York:

                a.       TWCA is a Delaware limited liability company with its principal place of

       business in   Missouri. (Davis Decl. tl 5.a.) TWCA's sole member is Time Warner Cable

       Enterprises, LLC ("TVy'CE"), a Delaware limited liability company with its principal

       business in Missouri. (Id.)

                b.       Time Wamer Cable, LLC ("TWC LLC"), a Delaware limited liabilify

       company with its principal place of business in Missouri, is the sole member of TWCE.

       (Id. at T 5.b.)

               c.        The sole member of TWC LLC is Charter Communications Operating, LLC

       ("Charter Communications Operating"), which is a Delaware limited liability company

       with its principal place of business in Missouri. (Id, at T 5.c.)

               d.        The sole member of Charter Communications Operating is CCO Holdings,

       LLC ("CCO Holdings"), a Delaware limited liability company with its principal place of

       business in Missouri. (Id. at '1T5.d.)

               e.        The sole member of CCO Holdings is CCH            I   Holdings, LLC ("CCH I

       Holdings"), a Delaware limited liability company with its principal place of business in

       Missouri. (Id.    at   I 5.e.)

                                                  J
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          f.      The sole member of CCH I Holdings is CCHC, LLC ("CCHC"),uDelaware

 limited liability company with its principal place of business in Missouri. (Id              aT tT   5,f.)

          g.      The sole member of CCHC is Charter Communications Holding Company,

 LLC ("Chafter Communications Holding Co."),                   a Delaware   limited liability company with

 its principalplace of business in Missouri. (Id. attl5.g.)

          h.      The sole member of Charter Communications Holding Co. is Spectrum, a

 Delaware limited liability company with its principal place of business in Missouri. (ld. at

T 5.h.)

          i.      The sole member of Spectrum is Charter Communications Holdings, LLC

 ("Charter Communications Holdings"), â Delaware limited liability company with its

principal place of business in Missouri. (Id. at T 5.i.)

          j.      The members of Chafter Communications Holdings are CCH II, LLC

("CCH II"), a Delaware limited liability company with its principal place of business in

Missouri, and Advance/lrlewhouse Partnership, a New York partnership with its principal

place of business in New    York. (Id.   at tl   5   j.)

                i.       The members of CCH                    II are Charter Communications,         Inc,,    a


          Delaware corporation with its principal place of business in Connecticut,             as    well    as


          Coaxial Communications of Central Ohio LLC ("Coaxial Communications"),

          Insight Communications Company LLC ("Insight Communications"), NaviSite

          Newco LLC ("NaviSite Newco"), and TWC Sports Newco LLC ("TWC Sports

          Newco"), all four of which are Delaware limited Iiability companies with principal

          places of business in Missouri. (Id. aI          I   5.k.)




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                        1.      The sole member of Insight Communications, NaviSite

           Newco, and TWC Sports Newco is Charter Communications, Inc.,                           a


            Delaware corporation with its principal place of business in Connecticut.

            (Id. atfl   5.1.)


                    2.          Insight Communications, NaviSite Newco, and TWC Sports

           Newco are therefore citizens of the States of Connecticut and Delaware.

           Pramco, LLC ex rel. CFSC Consortium, LLC v. San Juan Bay Marina, Inc.,

           435 F.3d 51,54 (lst Cir. 2006) ("[T]he citizenship of a limited liability

           company is determined by the citizenship of        allof   its members.").

                    3.          The sole member of Coaxial Communications is Insight

           Communications, a Delaware limited liability company with a principal

           place    of       business   in       Missouri, whose sole member      is     Charter

           Communications, Inc,, a Delaware corporation with its principal place of

           business in Connecticut. (Davis Decl. fl 5.m.)

                    4.          Because Insight Communications is acitizen of the States         of

           Connecticut and Delaware, Coaxial Communications is a citizen of the

           States   of Connecticut and Delaware.          See Pramco,   LLC, 435 F.3d at         54

           ("[T]he citizenship of a limited liability company is determined by the

           citizenship of all of its members."); supra T 10j.i.2.

                    5.          Accordingly, since each of its members is a citizen of the

           States   of Connecticut and Delaware, CCH II is a citizen of the             States   of

           Connecticut and Delaware for diversity purposes. See Pramco, LLC,435




                                             5
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             F.3d at 54 ("[T]he citizenship of a limited liability company is determined

             by the citizenship of all of its members.").

           ii.       The partners of             AdvanceÆ.Jewhouse Partnership       are A/|IPC

      Holdings LLC ("A/NIPC Holdings") and An{P Holdings Sub, LLC ("A/NJP

      Holdings Sub"), both Delaware limited liability companies with principal places of

      business in New   York. (Davis Decl, I6.a.)

                      l.           The sole member of AAIP Holdings Sub is   ANPC Holdings.

             (td. at T 6.b.)

                     2.            The members of A/I\PC Holdings are Newhouse Cable

             Holdings LLC ("Newhouse") and Advance Communications Company

             LLC ("Advance Communications"), both New York limited liability
             companies with principal places of business in New         York. (Id.   at tl 6.c.)

                     3.            The sole member of Newhouse is Newhouse Broadcasting

             Corporation,      a   New York corporation with its principal place of business in

             New York. (Id. at 6.d.)

                     4.            The sole member of Advance Communications is                the

             Birmingham News Company, an Alabama corporation with its principal

             place of business in Alabama. (Id. at 6.e.)

                     5.            Accordingly, A/NP Holdings Sub, A/lrtrPC Holdings, and

            therefore AdvanceAJewhouse Partnership are citizens              of the    States      of

            Alabama and New York for diversity purposes. Morson v. Kreindler &

            Kreindler, LLP,616 F. Supp. 2d 171,173 (D. Mass. 2009) ("The citizenship




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                         of an unincorporated entity, such as a partnership, is determined by the

                         citizenship of all its members.").

                    iii.         Because   its members are citizens of the States of Connecticut,

               Delaware, and New York, Charter Communications Holdings is a citizen of the

               States of Alabama, Connecticut, Delaware, and New York for diversity purposes.

               See Pramco,     LLC,435 F.3d at 54 ("[T]he citizenship of a limited liability company

               is determined by the citizenship of all of its members.").

               k.        Accordingly, at the time of the filing of this action and as of the date of this

       removal, Spectrum is now and has been a ciTizen of the States of Alabama, Connecticut,

       Delaware, and New York for purposes of determining diversity jurisdiction. See id.

       ("[T]he citizenship of a limited liability company is determined by the citizenship of all of

       its members.").

               l.        Likewise, at the time of the filing of this action and as of the date of this

       removal, TWCA is now and has been a citizen of the States of Alabama, Connecticut,

       Delaware, and New York for purposes of determining diversity jurisdiction. See id.

       ("[T]he citizenship of a limited liability company is determined by the citizenship of all of

       its members.").

       I   l   Accordingly, complete diversity exists because Plaintiff is a citizen of a state

different than Spectrum, TWCI's successor by merger, and the proper defendant, TWCA.

       B.      The Amount in Controversy Exceeds $75.000

       12.     District courls have originaljurisdiction of all civil actions where the amount in

controversy exceeds the sum or value of $75,000 and is between citizens of different states. 28

U.S.C. $ 1332(a).



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       Case 3:16-cv-11392-MGM Document 12 Filed 07/18/16 Page 54 of 60




            13,   "Because the party invoking federaljurisdiction bears the burden of demonstrating

that the court has subject-matter jurisdiction over the case, [Defendant] must show that the amount

in controversy exceeds $75,000." Miford-Bennington R.R. Co., Inc. v. Pan Am Rys., (nc.,695

F.3d 175,178      (lstCir.2012) (internalcitationomitted). However, aremovingdefendantdoesnot

need   to establish that the jurisdictional threshold is met with legal certainty, or even by          a


preponderance of the evidence, but is only required to "demonstrate that there is a'reasonable

probability' that the amount in controversy exceeds $75,000." Youtsey v. Avibank Mfg., lnc.,734

F. Supp.2d230,233 (D. Mass.20l0).

         14.      Here, Plaintiff has not claimed a specific amount of damages. Therefore, the Court

may look to the factual allegations in the Complaint and in this Notice of Removal to determine        if
there is a "reasonable probability" that the amount in controversy has been satisfied. Composite

Co., Inc. v. Am.   Int'l Grp., lnc.,988   F. Supp. 2d 61,74 (D. Mass. 2013) ("Defendants can satisfy

their burden by'relying on the face of the complaint in the underlying case,'by alleging facts in

its notice of removal to support its amount in controversy allegation, or by submitting'summary

judgment type evident.."'); see also Joseph E. Bennett Co. v. Trio Indus.,306 F.2d 546, 548 (1st

Cir. 1962) ("On its face the plaintiff s complaint shows an amount in controversy adequate for

federal jurisdicti on. ").

         15.      Removal under 28 U,S.C.       $ 1332 is proper   where the aggregate amount of a

plaintiff   s claims exceeds   $75,000. See28 U.S.C. $ 1332(a). While Defendant denies Plaintiff       s


claims of wrongdoing and denies his requests for relief thereon, the facial allegations in Plaintiff   s


Complaint and the total amount of wages, interest, attorneys' fees, injunctive relief, and other

monetary relief at issue in this action is in excess ofthis Court's jurisdictionalminimum, calculated

as follows:




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                            Plain tiffl s Allesations       Iinnaid Hours Worked

          16.       Until October 2014, Defendant had an "auto-deduct policy" in place in which

Defendant's timekeeping system would deduct thirty minutes per day from each employee's

scheduled hours to be worked to account for meal breaks. (Davis Decl. fl          7.) After October 2014,

Defendant required its employees to manually punch in and out of the timekeeping system for their

meal breaks.       (Id)

          17   .    Defendant has employed Plaintiff as a technician since May 2004. (Compl. flll 3-

4.)

          18.       Plaintiff alleges that during his employment with Defendant he often "performed

work during his lunch period and was not paid for that time." (Id. n I L) According to Plaintiff,

he worked through approximately sixty percent of his meal breaks. (Id.           atl7.)
          19.       Plaintiff also contends that during his employment, Defendant "suffered          and

permitted Plaintiff to perform work . . . before and after the end of his scheduled shift," but "failed

to pay Plaintiff for alltime spent performing such work." (Id. atTll 14, 16.)

          20.       Plaintiff alleges in his Complaint that "at least 4.75 hours of uncompensated time

per week, during the period when the auto-deduct policy was in effect, should have been paid at

overtime rates, resulting in approximately $37.50 per hour or $178.13 not paid each week." (1d. fl

19.) He also contends that "at least2.75 hours of uncompensated time per week, during the period

when the auto-deduct policy was not in effect, should have been paid at overtime rates, resulting

in approximately $37.50 per hour or $103,13 not paid each week."           (Id   afT 20.)

      Plaintiffls Claims for Unpaid Overtime Wages and for Violation of the Massachusetts
                           Wase Act lFirst and Second Causes of Action)

          21.       "Under the Massachusetts Wage Act, Mass. Gen. Laws. Ch. 149,              $   148, an

employee must be paid within six or seven days of the termination of the pay period during which


                                                        9
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the wages were earnedf.f"' Guevara-Salgado v. Hayes-Meninno, LLC,125 F. Supp. 3d 379,386

(D. Mass. 2015). An employer who violates this statute must pay the plaintiff treble damages "as

liquidated damages, for any loss of wages, and an award of costs and reasonable attorney's fees."

Id.;Mass. Gen. Laws ch. 149, $ 50.

        22.     Similarly,   a successful   claim for unpaid overtime wages entitles a plaintiffto "treble

damages, as liquidated damages,       for lost overtime compensation," as well as "the costs of the

litigation and reasonable attorney's fees." Mass. Gen. Laws ch.          l5l, $ lB; see also Goodrow v.
Lane Bryant, lnc.,432 Mass. 165,178 (2000).

        23.     The relevant time period covering Plaintiff s claims for unpaid wages and unpaid

overtime wages is three years. See Mass. Gen. Laws. ch. 151, $ 204 ("The provisions of this

chapter shall not be applicable to any cause of action accruing more than 3 years prior to the date

of filingincourtofacriminal orcivil action."); Drexlerv.TelNexx, [nc.,125F. Supp.3d361,

378 (D. Mass. 2015) ("The statute of limitations for Wage Act claims is three years.")

        24.     According to Plaintiff s allegations, Defendant violated Mass. Gen. Laws ch. 149,

$ 148 "by not paying Plaintiff all wages to which he was owed, including time he worked before

his shift, after his shift, and during lunch." (Compl. 1T35.)

        25.     Plaintiff also alleges that Defendant violated Mass. Gen. Laws ch. 151, fl lB "by

not paying Plaintiff time-and-a-half for all hours worked over 40 in a work week, including time

he worked before his shift, after his shift, and during lunch." (Id. af    I 30.)
        26.    Over the three-year time span relevant to this claim       -   from May 27, Z0l3 through

the filing of this instant notice of removal- Plaintiff worked at least 161 full weeks.

       27.     Using Plaintiff s own allegations, he seeks to recover $65,561.79 in connection

with his claims for unpaid wages and unpaid overtime wages, calculated as follows:



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                 a.      537,407.30 while Defendant's auto-deduct policy was in place ($178.13

          weekly wages x 70 weeks from May 31,2013 to October 2,2014 x 3 for treble damages),

          plus

                 b.     528,154.49 after Defendant discontinued its auto-deduct policy ($103.13

          weekly wages x 91 weeks from October 3,2074 to June 30,2016 x 3 for treble damages).

       Plaintiffls Claims for Breach of Contract        dU ni¡¡sf Enrichment lThird and Fourth
                                        Causes of Action)

          28.    The relevant time period covering Plaintiffs breach         of   contract and unjust

enrichment claims is six years. Mass. Gen. Laws ch.260, $ 2 ("Actions of contract, other than

those to recover for personal injuries, founded upon contracts or liabilities     . . . shall, except   as


otherwise provided, be commenced only within six years next after the cause of action accrues.");

Palandijan v. Pahlavi,6l4 F. Supp. 1569,1577 (D, Mass. 1985) (applying six-year statute of

limitations to unjust enrichment claim "to recover from another money which in good equity and

good conscience he is not entitled to keep").

          29.    According to Plaintiff, "Time Warner and Plaintiff were pafties to an agreement

pursuant    to which Plaintiff promised to perform services on Time Warner's behalf and Time

Warner promised to pay Plaintiff for all hours worked." (Compl.        I38.) Plaintiff alleges that he
complied with his obligations under the alleged contract between him and Defendant, but that

Defendantbreachedthecontract"byfailingtopayPlaintiffforall              hoursworked." (Id. atTI39-

40.)

          30.    Plaintiff also contends that he "conferred a benefit upon Time Warner by

performing services on its behalf," but that "Time Warner accepted and retained that benefìt under

unjust and inequitable circumstances insofar as         it did not compensate Plaintiff for all   hours

worked." (Id.flnß,45.)


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         3l   .   Over the three-year time span relevant to these claims for breach of contract and

unjust enrichment      - from lr4ay 27,2010   to May 26,2013, excluding the period when Plaintiff

would be entitled to treble damages as discussed supra       - Plaintiff worked at least 158 full weeks.
         32.      Using Plaintiff s own allegations, he looks to recover $28"144.54 in connection

with his claims for breach of contract and unjust enrichment ($178.13 weekly wages x 158 weeks).

         33.      Accordingly, Plaintiff   s alleged damages total $93,706.33           ($65,561.79 for

Plaintiffs First and Second Causes of Action plus $28,144.54 for Plaintiffls Third and Fourth

Causes   of Action).

                                            Attorney's    Fees

         34.      "Even though attorney's fees are typically excluded from the amount-in-

controversy determination, there are fwo exceptions to this rule: when the fees are provided for by

contract, and when a statute mandates or allows payment of the fees." Get in Shape Franchise,

Inc. v. TFL Fishers, LLC, No. 15-12997-PBS, --- F. Supp. 3d ---, 2016 WL 951107, at *7 (D.

Mass.   Mar.9,2016). Both Mass. Gen. Laws ch.           151, $   lB   and Mass. Gen. Lawsch. 149, $ 148

allow for the recovery attorney's fees.    ,See Mass. Gen.   Laws ch. 151, $ I B (allowing for recovery

of attorney's fees in connection with claim for unpaid overtime compensation); Mass. Gen. Laws

ch. 149, $ 50 (allowing for recovery of attorney's fees in connection with claim for violation of

the Wage Act). Accordingly, attorney's fees may be considered with respect to the amount-in-

controversy calculation. Get in Shape Franchise, [nc.,2016 WL 957107 , at *7 .

         35.      This Court has recently held that in claims for unpaid wage, reasonable attorney's

fees and expenses would      "likely [be] in the neighborhood of $15,000 to $25,000,      and no greater

than $50,000." Huston        v.   FLS Language Centres, 18 F, Supp. 3d 17,24 (D. Mass. 2014)

(considering attorney's fees for amount-in-controversy calculation for unpaid wage claim).



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        36.    Thus, assuming the Court would award $15,000 in attorney's fees, the total

amount in controversy is at least $108.706.33 ($93,706.33 in damages plus $ 15,000 in attorney's

fees), and exceeds the $75,000 threshold.

        37.    WHEREFORE, having provided notice as required by law and demonstrating the

existence of diversity jurisdiction pursuantto 28 U.S.C. $ 1332, the above-entitled action should

be removed from the Superior Court of Berkshire County, Commonwealth of Massachusetts to

this Cour1.



        Dated: July l, 2016

                                            /s/ Andrew L. Baldwin
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                                            A tto rney s fo   r D efe ndant




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                                    CERTIFICATE OF SERVICE

       I hereby certify fhata true copy of the above document was served upon the attorney of

record for Plaintiff, identifìed below, by U.S. Mail on July   l,   2016:

                                     Benjamin K. Steffans
                              Cohene Kinne Valicenti & Cook LLP
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                                                      /s/ Andrew L.         tn
                                              Andrew L. Baldwin




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